Case 16-01131 Doc 5-12 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit

Civil tracking Order—Notice of Appear Crerks Notices Page Tof4
DOCKET NUMBER Trial Court of Massachusetts
CIVIL TRACKING ORDER ou us
(STANDING ORDER 1- 88) 1577CV01902 The Superior Court
~~ Thomas H. Driscoll, Jr., Clerk of Courts
Eugene Pelikhov vs. Gold and Farb, Inc. et al

TO: File Copy COURT NAME & ADDRESS |
Essex County Superior Court - Salem
J. Michael Ruane Judicial Center

56 Federal Street |
Salem, MA 01970 |

TRACKING ORDER - A - Average |
You are hereby notified that this case is on the track referenced above as per Superior Court Standing

Order 1-88. The order requires that the various stages of litigation described below must be completed not later
than the deadlines indicated. |

T F LITIGATION DEADLINE
| L SERVED BY | FILED BY HEARD BY
Service of process made and return filed with the Court 02/17/2016 |
Response to the complaint filed (also see MRCP 12) 03/18/2016
All motions under MRCP 12, 19, and 20 03/18/2016 04/19/2016 05/17/2016
All motions under MRCP 15 01/12/2017 02/13/2017 02/13/2017

All discovery requests and depositions served and non-expert

despositions completed 11/08/2017
All motions under MRCP 56 12/08/2017 01/08/2018
Final pre-trial conference held and/or firm trial date set 05/07/2018
Case shall be resolved and judgment shall issue by 11/19/2018 |
|
|
The final pre-trial deadline is not the scheduled date of the conference. You will be notified of that date at a later time.

Counsel for plaintiff must serve this tracking order on defendant before the deadline for filing return of service.

This case is assigned to

DATE ISSUED ASSISTANT CLERK PHONE

| 11/20/2015 Carlotta Patten (978)825-4800 |

}

Date/Time Printed: 11-20-2018 15:31:48 Scvoesy 11/2014
Case 16-01131 Doc 5-12 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit

Civil Tracking Order Notice of Appear ClerksjNotices Page 2 of 4
DOCKET NUMBER Trial Court of Massachusetts a
NOTICE TO APPEAR FOR

Motion Hearing 1577001902 The Superior Court we)

CASE NAME: -
Pelikhov, Eugene vs. Gold and Farb, Inc. et al Thomas H. Driscoll, Jr., Clerk of Courts

TO: COURT NAME & ADDRESS

File Copy Essex County Superior Court - Salem
J. Michael Ruane Judicial Center

56 Federal Street

Salem, MA 01970

The Court will hear the following event:

Motion Hearing

Counsel should appear as follows:

Date: 05/12/2016
Time: 02:00 PM

Session/ Courtroom Location: Civil A/ SALEM-5th FL, CR H (SC)

FURTHER ORDER OF THE COURT:
Motion to Compel Arbitration and To Stay the Proceeding

DATE ISSUED ASSOCIATE JUSTICE

04/21/2016 Hon. Timothy Q Feeley Thomas H. Driscoll, Jr., Clerk of Courts

Date/Time Printed: 04-21-2016 12:47:40 SCVvOtZai 06/2014
Case 16-01131 Doc 5-12 Filed 08/05/16 Entered 08/05/16 13:29:59 Desc Exhibit

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CORKET HUSER Trial Court of Massachusetts

CLERK'S NOTICE @)

1577CV01902 The Superior Court

| CASE NAME:
Pelikhov, Eugene vs. Gold and Farb, Inc. et al Thomas H. Driscoll, Jr., Clerk of Courts

| TO: COURT NAME & ADDRESS

| PieiGopy Essex County Superior Court - Salem
J. Michael Ruane Judicial Center
56 Federal Street

Salem, MA 01970

| You are hereby notified that on 05/05/2016 the following entry was made on the above
referenced docket:

Endorsement on Motion to extend time to respond to plaintiff's discovey requests (#12.0): ALLOWED
60 day extension

| DATE ISSUED ASSOCIATE JUSTICE/ ASSISTANT CLERK SESSION PHONE#

| 05/06/2016 | Hon. Timothy Q Feeley (978)825-4800

LE | |
Date/Time Printed: 05-06-2016 11:41:52 SCvO16_X1\ Oa2014

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CLERK'S NOTICE we)
4577CV01902 The Superior Court
CASE NAME:
Pelikhov, Eugene vs. Gold and Farb, Inc. et al Thomas H. Driscoll, Jr., Clerk of Courts
TO: COURT NAME & ADDRESS
File Copy

Essex County Superior Court - Salem
J. Michael Ruane Judicial Center

56 Federal Street

Salem, MA 01970

You are hereby notified that on 05/26/2016 the following entry was made on the above
referenced docket:

ORDER: ORDER - Defendants’ motion to compel arbitration and stay proceedings is ALLOWED, except as to
Count XI of the complaint. As to Count XI, plaintiff has leave to file an application for inspection of financial records

under the provisions of G. L. c. 156D, § 16.04/16.05. The court shall dispose of such an application on an
expedited basis.

DATE ISSUED ASSOCIATE JUSTICE/ ASSISTANT CLERK

SESSION PHONE#

(978)825-4800

05/26/2016 Hon. Timothy Q Feeley

Date/Time Printed: 05-26-2018 10:56:35 SCVO16_x 1) 08/2014

